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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                        )        CASE NO. 1:09CR363
                                                 )
                        PLAINTIFF,               )
                                                 )        JUDGE SARA LIOI
vs.                                              )
                                                 )        MEMORANDUM OPINION &
LISA CHAMBERS,                                   )        ORDER
                                                 )
                        DEFENDANT.               )

                  Before the Court is Defendant Lisa Chamber’s (“Defendant”)’s Motion for

Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2 ), Amendment 750 to U.S.S.G. §2D1.1 of

the U.S. Sentencing Guidelines Manual, and the U.S. Sentencing Commission’s decision to

retroactively apply Amendment 750 to certain offense levels for the illegal possession of crack

cocaine. (Doc. No. 601.) The United States of America (“the Government”) responded in

opposition to Defendant’s motion. (Doc. No. 604.) For the reasons set forth below, Defendant’s

motion is DENIED.

      I.       BACKGROUND

                  On October 29, 2009, Defendant pled guilty to a Count 1 of the indictment in

which she was charged with conspiracy to possess with intent to distribute heroin, cocaine, and

cocaine base (“crack cocaine”) in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A). There is no

dispute that based upon initial advisory guideline calculations, Defendant had a Criminal History

Category VI and a total offense level 18, which, preliminarily, resulted in an advisory guideline

range of 57 to 71 months. However, this analysis is incomplete, as Defendant was subject to a

statutory mandatory minimum sentence of 120 months. Since the statutory minimum sentence of

120 months was greater than the maximum guideline sentence of 71 months, the statutory
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mandatory minimum sentence of 120 months became the guideline sentence. U.S.S.G.

§5G1.1(b); United States v. Johnson, 564 F.3d 538, 423 (6th Cir. 2009). Additionally, the

Government moved for, and the Court granted, a 3- level departure to the guideline sentence for

substantial assistance pursuant to 18 U.S.C. § 3553(e) and U.S.S.G. §5K1.1, thus allowing the

Court to sentence Defendant below the statutory mandatory minimum sentence. Defendant was

sentenced to a term of imprisonment of 64 months.

               Defendant moved this Court to reduce her sentence pursuant to 18 U.S.C. §

3582(c)(2), Amendment 750 to §2D1.1 of the U.S. Sentencing Guidelines Manual. (Doc. No.

601.) Defendant argues that new language in U.S.S.G. §1B1.10 clarifies that defendants who

received cooperation based departures at the original sentencing, such as this Defendant, are

eligible for sentence reductions, notwithstanding the mandatory minimum. Defendantsasks this

Court to reduce her sentence to 24 months. The Government responds that Defendant’s sentence

should not be reduced since Amendment 750 did not lower the mandatory minimum guideline

range applicable in this case and the filing of a substantial assistance motion does nothing to

change this calculation.

   II.     LAW AND ANALYSIS

   A. Statutory Background

               A district court may resentence a defendant only as expressly provided by statute.

United States v. Ross, 245 F.3d 577, 586 (6th Cir. 2001). Congress allows a district court to

modify a term of imprisonment under § 3582(c) when the defendant “has been sentenced to a

term of imprisonment based on a sentencing range that has subsequently been lowered by the



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Sentencing Commission.” Section 3582(c) additionally states that the reduction must be

“consistent with applicable policy statements issued by the Sentencing Commission.”

                  On June 30, 2011, the Sentencing Commission adopted Amendment 750 to the

Drug Quantity Table in U.S.S.G. §2D1.1, which altered the offense levels applicable to crack

cocaine offenses. U.S.S.G §1B1.10 was subsequently revised on November 1, 2011. Application

Note 1(A) states that a reduction under § 3582(c)(2) is not authorized if “the amendment does

not have the effect of lowering the defendant’s applicable guideline range because of the

operation of another guideline or statutory provision (e.g., a statutory mandatory minimum term

of imprisonment).” U.S.S.G. § 1B1.10 cmt. n.1 (2011) (emphasis added). The Commission then

added Amendment 750 to the list of amendments in U.S.S.G. §1B1.10(c) that will be applied

retroactively, effective as of November 1, 2011.

                  This Court must determine whether Defendant’s sentence was based on a

sentencing range that has subsequently been modified by Amendment 750 and whether the

proposed reduction is consistent with the Commission’s guidelines and policy statements.

    B. Amendment 750 Does Not Lower Defendant’s Guideline Range Because
       Defendant’s Sentence Was Not “Based On” the Crack Guidelines

                  As a matter of law, Amendment 750 has no effect on the statutory mandatory

minimum applicable to Defendant. At sentencing, it is undisputed that Defendant faced a

statutory mandatory minimum sentence of 120 months. The sentencing commission has no

authority to alter statutory mandatory minimum penalties. United States v. Carradine, 621 F.3d

575 (6th Cir. 2010).1 “Where a statutorily required minimum sentence is greater than the

1
 The Court recognizes that the Fair Sentencing Act of 2010 (“FSA”) lowered the statutory mandatory minimum
penalty for various crack cocaine offenses. That reduction, however, only applies to defendants sentenced on or after
August 3, 2010, the date of enactment. See United States v. Carradine, 621 F.3d 575, 580 (6th Cir. 2010); Dorsey v.
                                                          3
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maximum of the applicable guideline range, the statutorily required minimum shall be the

guideline range.” U.S.S.G. § 5G1.1(b). Further, § 3582(c)(2) and §1B1.10 do not permit a

defendant seeking relief pursuant to a retroactive amendment to be placed in a better position

than she would have been in had the crack amendment been in place at the time of the original

sentencing. United States v. Johnson, 564 F.3d 419, 423-24 (6th Cir.), cert. denied, 130 S. Ct.

318 (2009).

                 Here, even if Amendment 750 had been in effect at the time of Defendant’s

sentencing, the starting point for Defendant’s sentence would still have been the mandatory

minimum, which remains greater than the maximum amended guideline range. See e.g., United

States v. McPherson, 629 F.3d 609, 610 (6th Cir. 2011) (“Where a statutorily required minimum

sentence is greater than the maximum of the applicable guideline range, the statutorily required

minimum sentence shall be the guideline sentence.”); United States v. Green, 532 F.3d 538, 546

n. 8 (6th Cir. 2008) (retroactive amendment “cannot override any mandatory statutory minimum

sentences set forth by Congress”). Following the Government’s substantial assistance departure,

the Court was permitted to depart below both the mandatory minimum and the guidelines range.

As the Sixth Circuit held in United States v. Hameed, 614 F.3d 259, 268 (6th Cir. 2010),

however, departures are appropriately measured from the statutory mandatory minimum. The

new amendment does not affect this calculus. See U.S.S.G. §1B1.10(a)(2) (“A reduction in the

defendant’s term of imprisonment is not consistent with this policy statement and therefore is not


United States, 132 S. Ct. 2321 (2012). Courts addressing Amendment 750 to the Sentencing Guidelines uniformly
agree that the mandatory minimum provisions remain applicable to defendants, such as Chambers, who were
originally sentenced before August 3, 2010, such that the new mandatory minimum provisions of the FSA are
inapplicable when determining a defendant’s eligibility for a sentencing reduction under § 3582(c)(2). See e.g.,
United States v. Ortiz-Vega, 847 F. Supp. 2d 706 (E.D. Pa. 2012) (denying reduction under Amendment 750 where
defendant was sentenced to mandatory minimum).
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authorized under 18 U.S.C. § 3582(c)(2) if . . . (B) an amendment listed in subsection (c) does

not have the effect of lowering the defendant’s applicable guideline range.”).2 Although the base

offense level as calculated by §2D1.1 has been altered, the mandatory minimum has not been

altered by any retroactive amendment. Accordingly, this Court lacks jurisdiction under §

3582(c)(2) to modify Defendant’s sentence, and her motion is DENIED.3

                 IT IS SO ORDERED.

Dated: February 14, 2013
                                                       HONORABLE SARA LIOI
                                                       UNITED STATES DISTRICT JUDGE




2
  Application Note 3 to §1B1.10 is inapposite here, as that commentary applies to defendants granted substantial
assistance departures who were not subject to mandatory minimum terms of imprisonment. See e.g., United States v.
Cannon, Nos. 07-174-03, 07-181-01, 2011 WL 6258483, at *9 (E.D. Pa. Dec. 14, 2011). Here, however, it is
undisputed that Defendant was subject to a mandatory minimum sentence and not an “amended guideline range.”
3
  Defendant’s reliance on Freeman v. United States, 131 S. Ct. 2685 (2011), is misplaced. Unlike in Freeman,
Defendant here did not enter into a binding Rule 11(c)(1)(C) plea agreement with the Government, nor is there any
language in defendant’s non-binding Rule 11(c)(1)(B) plea agreement indicating she would be sentenced in
accordance with a particular guideline range. Even if the parties did discuss the guidelines in reaching their
agreement, this “does not empower the court under § 3582(c)(2) to reduce the term of imprisonment that is
ultimately agreed upon.” Freeman, 131 S. Ct. at 2697. Specifically, Justice Sotomayor recognized that the
guidelines are the starting point for plea negotiations, for “plea bargaining necessarily occurs in the shadow of the
sentencing scheme to which the defendant would otherwise be subject. The term of imprisonment imposed by the
district court, however, is not ‘based on’ those background negotiations.” Id. (citing United States v. Booker, 543
U.S. 220, 255 (2005)).
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